Entered: March 29, 2005        Case 03-30459     Doc 2901       Filed 03/29/05   Page 1 of 3
Signed: March 28, 2005

SO ORDERED




                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF MARYLAND
                                                (Greenbelt Division)

        In re:                                              *

        NATIONAL ENERGY & GAS                               *    Case No.: 03-30459 (PM) and 03-30461 (PM)
        TRANSMISSION, INC. (f/k/a PG&E                           through 03-30464 (PM) and 03-30686 (PM)
        NATIONAL ENERGY GROUP, INC.), et al.                *    through 03-30687 (PM)
                                                                 Chapter 11
                              Debtors.                           (Jointly Administered under
                                                            *    Case No.: 03-30459 (PM))

        *        *        *     *    *   *   *    *   *     *        *     *      *     *      *   *     *

             ORDER FURTHER EXTENDING THE EXCLUSIVE PERIODS DURING WHICH
                  CERTAIN OF THE DEBTORS MAY FILE A PLAN OR PLANS OF
            REORGANIZATION AND SOLICIT ACCEPTANCES FOR SUCH PLAN OR PLANS
                           (The ET Debtors and the Quantum Debtors)


                              Upon consideration of the Motion For Order Further Extending The Exclusive

        Periods During Which Certain Of The Debtors May File A Plan Or Plans Of Reorganization And

        Solicit Acceptances For Such Plan Or Plans (The ET Debtors’ And The Quantum Debtors’

        Motion) (the “Liquidating Debtors’ Motion”) seeking a further extension of seventy-five (75)

        days each of (i) the Exclusive Proposal Period and (ii) the Exclusive Solicitation Period, filed by




                                                            1
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the Liquidating Debtors,1 each of which are debtors and debtors in possession in the above-

captioned cases, and after consideration of any objections made thereto and after any hearing

held thereon; and it appearing that adequate notice of the Motion was provided and that no

further or other notice is necessary; and there appearing good cause for granting the relief

requested in the Motion; it is by the United States Bankruptcy Court for the District of Maryland,

hereby

                  ORDERED, that the Motion be and the same is hereby GRANTED; and it is

further

                  ORDERED¸ that all capitalized terms not defined herein shall have the meanings

ascribed to them in the Motion; and it is further

                  ORDERED, that the Exclusive Proposal Period for the Liquidating Debtors is

further extended to and including April 1, 2005; and it is further

                  ORDERED, that the Exclusive Solicitation Period for the Liquidating Debtors is

hereby further extended to and including June 1, 2005; and it is further

                  ORDERED, that this Order is without prejudice to the right of the Liquidating

Debtors to request further extensions of the Exclusive Proposal Period or the Exclusive

Solicitation Period, or both, pursuant to section 1121(d) of the Bankruptcy Code.



                                            END OF ORDER




1         The ET Debtors consist of NEGT Energy Trading Holdings Corporation f/k/a PG&E Energy Trading
          Holdings Corporation (“ET Holdings”), NEGT Energy Trading - Gas Corporation f/k/a PG&E Energy
          Trading - Gas Corporation (“ET Gas”), NEGT ET Investments corporation f/k/a PG&E ET Investments
          Corporation (“ET Inv.”), NEGT Energy Trading - Power, L.P. f/k/a PG&E Energy Trading - Power, L.P.
          (“ET Power”). The Quantum Debtors consist of NEGT Energy Services Ventures, Inc. f/k/a PG&E Energy
          Services Ventures, Inc. (“ESV”) and Quantum Ventures (“Quantum”).


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